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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

                                       )
QORVO, INC.,                           )
                                       )
      Plaintiff,                       )
                                       ) C.A. No. 1:21-cv-01417-RGA
              v.                       )
                                       )
AKOUSTIS TECHNOLOGIES, INC. and        )
AKOUSTIS, INC.,                        )
                                       )
      Defendants.                      )
__________________________________________________________________________


                        DECLARATION OF ROBERT M. FUHRER

       I, Robert M. Fuhrer, declare:

       1.      I am an attorney at law and counsel representing Defendants Akoustis

Technologies, Inc. and Akoustis, Inc.(“Defendants”) in the above-titled litigation. The facts

stated in this declaration are within my personal knowledge and are true and correct.

       2.      The attached Exhibit 1 to Defendants’ Opening Brief in Support of Their Motion

to Dismiss is a true and accurate copy of U.S. Patent No. 10,256,786 (the “’786 Patent”).



       Executed this 24th day of November, 2021.



                                       /s/ Robert M. Fuhrer
                                           Robert M. Fuhrer
